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 1   [Stipulating parties listed on signature page]
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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)                          Master File No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION
13                                                          MDL No. 1917
14                                                          STIPULATION AND [PROPOSED] ORDER
     This Document Relates To: ALL                          EXTENDING THE DEADLINE TO FILE A
15   INDIRECT PURCHASER ACTIONS                             MOTION TO COMPEL HITACHI
                                                            DEFENDANTS TO FURTHER
16                                                          SUPPLEMENT THEIR RESPONSES TO
                                                            INDIRECT PURCHASER PLAINTIFFS’
17                                                          FIRST SET OF INTERROGATORIES
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19          This Stipulation and Proposed Order between the Indirect-Purchaser Plaintiffs ( “IPPs”) and
20   Hitachi, Ltd. (“HTL”), Hitachi Displays, Ltd.(“HDP”), Hitachi Asia, Ltd. (“HAS”), Hitachi
21   America, Ltd., and Hitachi Electronic Devices (USA), Inc. (collectively, “Hitachi Defendants”)
22   (together, the “Parties”) is made with respect to the following facts and recitals:
23          WHEREAS, the IPPs and the Hitachi Defendants have met and conferred in order to resolve
24   all outstanding discovery issues with regard to Hitachi’s supplemental responses to IPPs’ First Set of
25   Interrogatories (“Interrogatories”);
26          WHEREAS, defendant HTL has agreed to further supplement its responses to Interrogatory
27   No. 10;
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     STIPULATION AND [PROPOSED] ORDER EXTENDING         1                          CASE NO.: 3:07-CV-05944-SC
     THE DEADLINE TO FILE A MOTION TO COMPEL                                              MDL CASE NO.: 191
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 1          WHEREAS, the Hitachi Defendants have agreed to further supplement their responses to
 2   Interrogatory Nos. 22, 23, and 24.
 3          WHEREAS, the IPPs are currently required to file any motion to compel by October 3, 2014;
 4          WHEREAS, the Hitachi Defendants agree to supplement their responses to the above-
 5   described Interrogatories by October 14, 2014;
 6          WHEREAS, the Hitachi Defendants agree to extend the deadline by which the IPPs may file
 7   a motion to compel regarding the Hitachi Defendants’ Responses to the above-described
 8   Interrogatories to October 21, 2014.
 9          IT IS HEREBY STIPULATED AND AGREED between the undersigned counsel that the
10   IPPs may file a motion to compel regarding defendant HTL’s further supplemental response to the
11   IPPs’ Interrogatory No. 10 and the Hitachi Defendants’ further supplemental responses to the IPPs’
12   Interrogatory Nos. 22, 23, and 24 no later than October 21, 2014.
13          The undersigned Parties jointly and respectfully request that the Court enter this stipulation
14   as an order.
15          PURSUANT TO STIPULATION, IT IS SO ORDERED.
16

17   Dated: October 22 , 2014
                                                  Hon. Samuel Conti
18
                                                  United States District Judge
19
     DATED: October 3, 2014                       Respectfully submitted,
20
                                                  TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
21
                                                  /s/ Mario N. Alioto
22
                                                  Mario N. Alioto (56433)
23                                                Lauren C. Capurro (Russell) (241151)
                                                  TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
24                                                2280 Union Street
                                                  San Francisco, CA 94123
25                                                Telephone: (415) 563-7200
26                                                Facsimile: (415) 346-0679

27                                                Interim Lead Counsel for Indirect-Purchaser
                                                  Plaintiff
28

     STIPULATION AND [PROPOSED] ORDER EXTENDING       2                           CASE NO.: 3:07-CV-05944-SC
     THE DEADLINE TO FILE A MOTION TO COMPEL                                             MDL CASE NO.: 191
         Case 3:07-cv-05944-JST Document 2938 Filed 10/22/14 Page 3 of 4



 1   DATED: October 3, 2014                       KIRKLAND & ELLIS LLP
 2
                                                  /s/ Eliot A. Adelson
 3                                                Eliot A. Adelson (205284)
                                                  James Maxwell Cooper (284054)
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 8                                                Kate Wheaton (pro hac vice)
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12                                                Attorneys for Defendants,
                                                  Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan
13                                                Display Inc.), Hitachi America, Ltd., Hitachi Asia,
14                                                Ltd., and Hitachi Electronic Devices (USA), Inc.

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     STIPULATION AND [PROPOSED] ORDER EXTENDING       3                          CASE NO.: 3:07-CV-05944-SC
     THE DEADLINE TO FILE A MOTION TO COMPEL                                            MDL CASE NO.: 191
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 1                                          ECF CERTIFICATION
 2          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 3   document has been obtained from each of the above signatories.

 4   Dated: October 3, 2014                                 KIRKLAND & ELLIS LLP
 5
                                                            /s/ Eliot A. Adelson
 6                                                          Eliot A. Adelson (205284)
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     STIPULATION AND [PROPOSED] ORDER EXTENDING         4                           CASE NO.: 3:07-CV-05944-SC
     THE DEADLINE TO FILE A MOTION TO COMPEL                                               MDL CASE NO.: 191
